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A091 (Rev. 8/01) Criminal Complaint

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SOUTHERN DISTRICT OF TEXAS
UN|TED STATES OF AMER|CA
V. CR|M|NAL COMPLA|NT
Arnulfo Horacio GARClA

Case Number: 91 \% ms 3Gq \

l, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about August 8, 2018 in Brooks County, in the
(oaie)
Southern District of Texas defendant, Arnulfo Horacio GARClA

did knowingly or in a reckless disregard of the fact that an alien had come to, entered, or remained in the United States in
violation of law, transport, or move or attempt to transport or move such alien within the United States by means of
transportation or otherwise, in furtherance of such violation of law

 

 

  
    

 

 

in violation of Titie 8 United States Code, Section(s) 1324
| further state that l am a(n) Border Patrol Agent and that this complaint is based on the
. Ofticia| Title
following facts:
See Attached Affldavit of U.S. Border Patro| Agent Marc Weston
Continued on the attached sheet and made a part of this complaint: [:] Yes l:l No
Signature o‘%ompl
Submitted by reliable electronic means, sworn tol signature Marc Weston
attested telephonica|ly per Fed.R.Crim.P.4.1, and probable cause Printed Name of Complalnant

 
  

found on the:

 
    

August 9, 2018 at

 

Date

B. Janice E||ington U.S. Magistrate Judge
Name and Title of Judicial Officer

 
    

 

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AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation

Probable Cause/Facts:

On August 8, 2018, at approximately 2130 p.m., Border Patrol Agent (BPA) M. Robles was
called to assist the Brooks County Sherist Office after a deputy conducted a traffic stop and
suspected the passengers in the vehicle of being illegally present in the United States. The
vehicle, a silver Chevrolet Camaro, was stopped near Travis Street and Business 281 in
Falfurrias, Texas for failure to drive in a single lane.

When BPA Robles arrived at the location, the deputy had the driver, identified as Arnulfo
Horacio GARCIA, and four passengers, later identified as Suliana Maribel CONTRERAS~
Rosales, Erich De La ROSA-Escobar, Ines Ef`rain CANJURA-Martinez, and N.R.C.A. (2002)
detained. BPA Robles questioned the four passengers as to their citizenship and all subjects
admitted to being illegally present in the United States. At this point, all subjects were placed
under arrest and transported to the Falf`urrias, Texas Border Patrol station for further processing

Miranda Rights: .
Once at the station, all subjects were read their Miranda rights in their preferred languages.

Garcia stated he understood his rights, but Was unwilling to answer questions without a lawyer
present. `

All of` the smuggled aliens stated they understood their rights and all subjects were willing to
provide statements without the presence of an attorney.

NOTE: Arnulfo Horacio GARClA has one prior apprehension for alien smuggling In this prior
event that occurred on August 26, 2015, GARClA was the driver of a GMC Yukon containing
three illegal aliens stopped by J im Wells County. GARClA was questioned at the time of his
arrest in August of 2015 and GARCIA stated he was going to be paid $2500 to take the three
aliens to Houston, Texas and admitted to smuggling aliens in the past.

Smuggled Alien Statements:

N.R.C.A. (2002) stated after crossing into the United States illegally, he was taken to multiple
stash houses and was eventually taken and dropped off as part of a group of approximately 10
subjects that were to walk around the checkpoint through the brush. N.R.C.A. (2002) stated he
became separated from his original group and ended up finding the subjects that he was
eventually arrested with. N.R.C.A. (2002) stated after about four or five days of walking through
the brush, the guide told them that a Camaro was going to pick them up. N.R.C.A. (2002) stated
after a while a Camaro arrived, the guide returned to the brush, and the group got inside the
vehicle. N.R.C.A. (2002) Stated he was the last one to get into the vehicle and due to the rear
seats being occupied, the driver told N.R.C.A. (2002) to ride in the passenger seat of the vehicle.

 

 

 

 

 

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Suliana Maribel CONTRERAS-Rosales, Erich De La ROSA-Escobar, and Ines Ef`rain
CANJURA-Martinez all provided similar statements These subjects stated after crossing into
the United States illegally, they were eventually taken to the same stash house. Af`ter some time,
a vehicle arrived and picked up the three of` them and a guide. The subjects stated they were
taken to an unknown location and dropped off to walk through the brush around the checkpoint
The subjects stated after walking for about four or five days, they came to the side of` a road
where the guide told them to wait for a vehicle that would pull over close to their location and
pick them up. The subjects stated a vehicle eventually approached and they all got inside the
vehicle. The guide returned to the brush and did not enter the vehicle with the subj ects.

When questioned regarding how the group knew which vehicle was going to pick them up,
Suliana Maribel CONTRERAS~Rosales stated once the vehicle was in sight, the guide told the
group that that was the vehicle and to run and get in. CONTRERAS-Rosales also stated the
vehicle initially passed their location, but then turned around and came back. CONTRERAS-
Rosales stated she sat in the middle rear seat and was able to see the driver of the vehicle that
picked them up through the rear view mirror. CONTRERAS-Rosales Identified Arnulfo
GARClA as the driver of this vehicle.

Disposition:

The facts of this case were presented to Assistant United States Attorney Mark Patterson who
accepted Arnulf`o Horacio GARClA for prosecution of 8 USC 1324, Alien Smuggling. Suliana
Maribel CONTRERAS-Rosales and Erich_ De La ROSA-Escobar were held as material Witnesses
in this case. Ines Ef`rain CANJURA-Martinez will be charged with a violation of 8 USC 1326,
lllegal Re-entry. N.R.C.A. (2002) was not held as a material witness.

 

/ /[ Marc Weston
Border Patrol Agent

Submitted by reliable electronic means, sworn to,

 

 

 

 

